






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00033-CR






Arlando Seth Ayala, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT

NO. CR21714, HONORABLE ED MAGRE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Arlando Seth Ayala was adjudicated guilty of sexual assault of a child and sentenced
to ten years in prison.  Ayala pleaded guilty to the offense and, pursuant to a plea agreement, was
placed on deferred adjudication community supervision for ten years beginning in 2007.  In 2008,
the State moved to adjudicate him guilty because he violated the terms of probation including: 
possessing controlled substances, missing appointments with his probation officer, failing to perform
community service, and failing to timely pay court costs, restitution, and other fees.  In eight months
on probation, Ayala was charged with four criminal offenses.  Ayala pleaded true to the allegations
without a recommendation regarding sentencing.  At the sentencing hearing, the victim's mother
testified that Ayala failed to pay child support.  His probation officer testified that Ayala has not
responded well to supervision and had not done well.  Ayala testified that he had received "a big eye-opener and a reality check" and wanted to remain on probation so that he could support his
seven&nbsp;children.  The trial court rejected his request and assessed sentence at ten years in prison. 
Ayala was appointed a new attorney for appeal.

		Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are
no&nbsp;arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's brief and was advised of his right
to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is
frivolous&nbsp;and without merit.  We find nothing in the record that might arguably support an appeal. 
See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  Counsel's motion to
withdraw is granted.

		The judgment of conviction is affirmed.


						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Affirmed

Filed:   August 27, 2009

Do Not Publish


